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BEVERLY MILLER, W@ 9‘ mass
Plaintirf,
vs. Civil No. 04-2583 MaV

ANTHONY J. PRINCIPI, SECRETARY,
DEPARTMENT OF VETERANS
AFFAIRS

Defendant.

 

ORDER

 

This matter having come before the Court, upon motion of the Plaintiff for a
forty-five (45) day extension of time to Designate Expert Witness and All Other
Deadlines to be continued through their present date, and the Court being advised
that there is no opposition to said motion, the Court finds that said motion is Well-
taken and should be granted.

IT IS, THEREFORE, ORDERED that an extension of forty-five (45) days is
granted up to and including September 14, 2005.

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ORDERED this the €`* day of August, 2005.

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U.S. Dietriot Judge
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:04-CV-02583 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

